 

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, address, State Bar number, and
telephone number):
Recording requested by end return to:

SHERYL D. NOEL #172551

DARRYL J. HOROWITT #100898

COLEMAN & HOROWITT, LLP File # 12587.01
499 W. Shaw Avenue, Suite 116

Fresno, CA 93704

(559) 248-4820 |
[x | arrorney [x | suocmenr | ASSIGNEE OF
bd FOR be] CREDITOR RECORD

SUPERIOR COURT OF-CALIFGRMIA,GoUNTY-OF- US DISTRICT COURT
STREET ADpress: 2500 Tulare Street

 

 

Case-1:12-mc-00027-SKE)-M4cument 5 Filed 07/20/12 Page 1 of 2

 

 

DEFENDANT: MICHAEL WALKER AND JEFF BAKER

MAILING ADDRESS: Same as above FOR RECORDER'S USE ONLY
ciry AND zip cope: Fresno, CA 93721
srancy Name: Eastern District
PLAINTIFF: AMEGY BANK NATIONAL ASSOCIATION CASE NUMBER:

1:12-mc-00027-SKO

 

ABSTRACT OF JUDGMENT—CIVIL
AND SMALL CLAIMS

 

[|] Amended

FOR COURT USE ONLY

 

1. The judgment creditor {| assignee of record
applies for an abstract of judgment and represents the following:

a. Judgment debtor's
Name and last known address

[ JEFF BAKER
3551 Pegasus Drive
Bakersfield, CA 93308
__
b. Driver's license no. [last 4 digits} and state:
c. Social security no. [last 4 digits}:

d. Summons or notice of entry of sister-state judgment was personally served or

mailed to (name and address): JEFF BAKER
3351 Pegasus Drive
Bakersfield, CA 93308
2,__] Information on additional judgment
debtors is shown on page 2.
3. Judgment creditor (name and address):
AMEGY BANK NATIONAL ASSOCIATION, c/o Coleman &
Horowitt, LLP, 499 W. Shaw Ave., Ste. 116, Fresno, CA 93704

Date: July AO , 2012

SHERYL D. NOEL
(TYPE OR PRINT NAME)

Unknown
Unknown

 

 

 

4. [__] Information on additional judgment

creditors is shown on page 2.

5. [__] Original abstract recorded in this county:

a. Date:
b. Instrument No.:

J EASIGNATURE OF APPLICANT OR ATTORNEY)

 

6. Total amount of judgment as entered or last renewed:
$ 8,440,389.69
7. Ail judgment creditors and debtors are listed on this abstract.
8. a. Judgment entered on (date): June 19, 2012
b. Renewai entered on (cafe):
9. |__| This judgment is an instafiment judgment.

 

[SEAL}

 

This abstract issued on (dafe);

 

 

 

 

 

10, |] An £_] execution lien [| attachment lien
is endorsed on the judgment as follows:

a. Amount: $
b. In favor of (name and address):

11. A stay of enforcement has
a. not been ordered by the court.
b. |__| been ordered by the court effective until
(date):
12. a. | certify that this is a true and correct abstract of
the judgment entered in this action.
b. L__| A certified copy of the judgment is attached.

 

 

Clerk, by , Deputy
Form Adopted for Hfandatory Use ABSTRACT OF JUDGMENT—CIVIL al sda ct ch Page tof 2
Judicial Council of Califoraia AND SMALL CLAIMS Solutii ns Code of Civil oat 700 186

EJ-004 (Rey. January 1, 2008)

Plus
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PLAINTIFF: AMEGY BANK NATIONAL ASSOCIATION

DEFENDANT: MICHAEL WALKER AND JEFF BAKER

 

CASE NUMBER:

1:12-mce-00027-SKO

 

 

 

NAMES AND ADDRESSES OF ADDITIONAL JUDGMENT CREDITORS:

13. Judgment creditor (name and address):

15. [___] Continued on Attachment 15.
INFORMATION ON ADDITIONAL JUDGMENT DEBTORS:

Name and last known address

16.
fo |

|__ _

Driver's license no. [last 4 digits]

and state: [__|Unknown
Social security no, [last 4 digits]: | ]Unknown
Summons was personaily served at or mailed to (address):

Name and last known address

18.
[ |

__|

L_JUnknown
[ ]Unknown

Summons was personally served at or mailed to (address):

|__

Driver's license no. [iast 4 digits}
and state:

Social security no. {fast 4 digits]:

20. [|__| Continued on Attachment 20.

14. Judgment creditor (name and address):

47. Name and last known address

[ |

|__ _

Driver's license no. [last 4 digits]

and state: [ ]Unknown
Social security no. [last 4 digits]: [J Unknown
Summons was personally served at or mailed to (address):

19. Name and last known address

[ a

|

fF }Unknown
|__| Unknown

Summons was personally served at or mailed to (address):

[__

Driver's license no. flast 4 digits]
and state:

Social security no. {last 4 digits]:

 

EJ-001 [Rev. January 1, 2008]

ABSTRACT OF JUDGMENT—CIVIL

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AND SMALL CLAIMS
